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                                   UNITED STATED DISTRICT COURT
                                       DISTRICT OF NEW JERSEY
                                      MINUTES OF PROCEEDINGS


OFFICE: NEWARK                                            DATE: September 7, 2023
JUDGE: JOHN MICHAEL VAZQUEZ
COURT REPORTER: Lisa A. Larsen

TITLE OF CASE:
                                                          DOCKET # 18-4772
In re: Celgene Corporation, Inc. Securities Litigation



APPEARANCES:

Lawrence Lustberg, Esq.
Kate Janukowicz, Esq.
James Cecci, Esq.
Kevin Cooper, Esq.
Andrew Zivitz, Esq.
Robert Kravetz, Esq.


Nature of Proceedings:        HEARING HELD WITH ORAL ARGUMENT

Hearing held with oral argument.
Court granted in part and denied in part.
Order to be submitted.


Time Commenced: 10:00
Time Adjourned: 1:00
Total Time: 3:00


                                                     RoseMarie Olivieri
                                                    SENIOR COURTROOM DEPUTY
